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                                UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WISCONSIN


Johnson Health Tech. Co., Ltd.,
Johnson Health Tech North America,
Inc.,   ·                                                                   ORDER

                         Plaintiffs,                                Case No. 13-cv-712-slc

                        v.

Spirit Manufacturing, Inc. ,

                         Defendant.


         The court having been advised by counsel for the parties that the above-entitled action

has been settled, this case is hereby dismissed. Any party may move to reopen for good cause

shown.
                             ; ru-·
         Entered this    /2-          day of March, 2014.    &-~

                                                            Stephen L. Crocker
                                                            Magistrate Judge
